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32474-1
                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SUNIL BHATIA, individually and                        )
derivatively on behalf of MEDVALUE                    )
OFFSHORE SOLUTIONS, INC.,                             )       Case Number: 1:18-cv-2387
                                                      )       Hon. Beth W. Jantz
        Plaintiff,                                    )
                                                      )
v.                                                    )
                                                      )
RAJU VASWANI, an individual, KARAN                    )
VASWANI, an individual, ASSIVO, INC. (f/k/a           )
MV OUTSOURCING, INC.), an Illinois                    )
Corporation,                                          )
                                                      )
        Defendants.                                   )

                                 CERTIFICATE OF SERVICE

        I, Natalie White, certify as follows under penalty of perjury this 16th day of June, 2020:

        1.      I filed this Certificate of Service by filing it with the Clerk of the Court via

electronic means on June 16, 2020.

        2.      I served this Certificate of Service and Defendant, Raju Vaswani’s, Verification

for His Response to Mandatory Initial Discovery Requests, on all parties via email.



                                                      By: /s/ Natalie White

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Jenna N. Wadulak (ARDC No. 6309859)
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